                            EXHIBIT A




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 STATE OF NORTH CAROLINA                           F ~ ~- ~ fl     IN THE°, G'_~:NERAL COURT OfJU57'ICE
                                                                        SUPERIOR COU~tT DIVISION
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                                                                   C,S,C.
IFtENE WARREN KENT, Admin$~~rp                               ~~"




                                      atiQ~~~~~)
of the Estate of Michele Quantele S(rr~ileV

        Plaintiff,                                      }

v,                                                       )

VAN DUNCAN, in his official capacity a~.       )
Sheriff of Buncombe County; WESTERN            )
SURETY C(]MPANY, as suret} for the
Sheriff; CHARLES J. WILHELM,
individually snd in his official capacity;                                   COMPLAINT
EDWARD F. PARKER, individually and in
his offccial capacity; MEGHAN T. RIDDLE.,                                   Wrongful Death
individually and in her official capacity;                                  X12 U.S.C. § 1983
RYAN P. ZABLOUDIL, individually and in
his official capacity; MATTHEW C. CORN..                               JURY TRIAL DEMANDED
individually and an his ~~cial capa~.~it~;
E'I'1-~AN G1BBS, individually and in his
offacial opacity; JOI-il~i DOE r','1.
individually and in his official capacity; and
JOHN DOE #2, individually and in his
official capacity; TINA COX MILLER,
LPN; and SOUTHEAST CORRECTIONAL
MEDICAL GROUP, PLI,~',

        Defendants.


       NOW COMBS the Plaintiff, by and through her undersigned attorneys, complaining of
the Defendants and alleges as follows:

       1.      Plaintiff Irene Warren Kent, a citizen and resident of Buncombe County, is
bringing this action in her capacity as the duly-appointed Administratrix of the Estate of her
deceased granddaughter, Michele Quantete Smileyy who died on October 6, 2017 while in
custody of Defendant Van Duncan and his officers zn the Buncombe County Detention Facility.

        2.      Defendant Van Duncan ("Sheriff Duncan") is the elected Sheriff of Buncombe
County, charged by statute with control and operation of the Buncombe County Detention
Facility (hereinafter, the "jail"}. Sheri' Duncan has custody of the jail under N.C,G.S. § 1 G2-22.
❑on-delegable responsibility for the maintaining adequate supervision of the jail under N.C.G~S.
§ 162-24, and i~ the final policymaker for the jail for purposes of 42 U„S.C. § l 483,




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         3,     Sheriff Duncan's legal obligations include the specific duty under N,C.G.S. §
 f 53A-224 to provide continuous custodial supervision of detainees in order "to be at al! times
informed of the prisoners' general health and emergency medical needs." He is sued in his
official capacity under N.C.G.S. § 58-76-5 and N.C.G.S. § 1S3A-435. He is also sued officially
as the final policymaker responsible for the unlawful practices at the jail. Those practices
include the systematic failure to immediately refer arrestees who are in urgent need of medical
attention for emergency care and the systematic failure to supervise pre-trial detainees in
accordance with correctional standards and state law and regulation, practices that led to the
death of Smiley. Those practices also include the failure to train his detention facility officers
and other agents in recognizing and properly responding to a methamphetamine overdose, a
practice that also lead to the death oP Smiley. Those practices, taken under color of law, were
objectively unreasonable and deliberately indifferent and shocking to the conscience, violating
Smiley's fourteenth Amendment right to due process and were a proximate cause of her death.

        4.      DeFendant Western Surety Company is a South Dakota company and sued as the
Sheriff's surety under N.C.G.S. § 58-76-5. iJpon information and belief, Western Surety
Company has issued the statutorily mandated surety band to cover any injury caused by the
neglect or misconduct of the Sheriff or those he employs. Sheriff Duncan is obligated under
state law to obtain and maintain said surety bond and by doing so, waives sovereign immunity as
to the claims in this matter, at least to the extent of the bond.

       5.      Upon information and belief, Sheriff Duncan, through Buncombe County, has
waived governmental or sovereign immunity from the state law tort claims in this case pursuant
to N.C,G.S. ~ 153A-435, either by participation in a government risk pool or through purchase of
commercial insurance that will indemnify him for any judgment against him or his employees
named in this action.

       6.     Further, N.C.G.S. § 153A-224 imposes an affirmative statutory duty upon Sheriff
Duncan and his jail employees to provide continuous custodi~il supervision of all persons in
custody and "to be at all times informed of the prisoners' general health and emergency medico!
needs." The violation of this mandatory statutory duty to keep each prisoner "protected" is a
misdemeanor and creates an exception to, and precludes application oF, the doctrine of
governmental immunity to the tort claims in this case.

        7.      Further, N.C,G.S. § 162-55 imposes an affirmative statutory duty upon Sheriff
Duncan and his jail employees to refrain from "da[ingJ, or causing] to be done, any wrong or
injury to the prisoners committed to his custody, contrary to law." The violation of this
mandatory statutory duty is also a misdemeanor and also creates an exception to, and precludes
application oF, the doctrine of governmental immunity to the tort claims in this case.

        8.      Further, the defense of governmental or sovereign immunity as a defense to
Plaintiff's state law tort claims has been expressly waived, upon information and belief, by
Buncombe County's adoption of a resolution that deems the creation of its funded reserve to be
the same as the purchase of insurance under N.C. Gen, Stat. § 153A-435(a}.

      9.     Upon information and belief, at all times relevant to this Complaint, Sheriff
Duncan assigned Defendant Charles J. Wilhelm ("Wilhelm") supervisory responsibility for the
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jail and either made Wilhelm a "keeper" of the jail under N.C.G.S. § 162-22 or identified him
under N.C.G.S. § ] 62-?4 to assist Sheriff Duncan in operating the jail. Defendant Wilhelm is
sued in his official capacity for the failure of the jail to keep continuous custodial supervision of
Smiley and in his individual and official capacity for the violation of Smiley's Fourteenth
Arr►endment rights.

         10.    At alt times relevant to this Complaint, Defendants Edward F. Parker, Meghan T.
Riddle, Ryan P. Zabloudil, Matthew C. Corn, Ethan Gibbs, John Doe #1, and John Dae #2
(hereinafter, collectively referred to as the "Defendant BSCO Jail Guards'') upon information and
belief, were all citizens and residents of Buncombe County, or residents of a county adjacent to
Buncombe County, and were employed by Sheriff Duncan as deputies and/or detention officers
and were on duty at the county jai] on October 6, 2017. They are sued in their individual and
official capacities. The surety bond, the risk pool, or commercial insurance obtained, and the
statutory duty re€erred to in the previous paragraphs, waive or overcome any claim to public
o~'icer immunity from these claims against these Defendants. ?hus, they are liable in their
official capacity for their negligence.

        11.     Ta the extent these Defendants assert public officer immunity, Defendants Edward
~'. Parker, Meghan T. Riddle., Matthew C, Corn, Ryan P. Zabloudil, Ethan Gibbs, John Doe #l,
and John Doe #2 are sued individually for conduct outside the scope of their authority and for
malicious, willful and wanton disregard for the righfs and safety and dignity of Plaintiffs
decedent, including failing to provide appropriate medical treatment, failing to contact
emergency medical service,. andror failing tEj uanspr~rt Smiley to the hospital emergency
department a.Rer Smiley reported that she had swallowed "a lat" of "meth" while she was being
processed and showed signs of a severe drug overdose; placing Smiley in a jail cell and leaving
her there io suffer until she vomited, became unconscious, and stopped breathing; standing
ou#side of her jail cell and watching her lie motionless and continuing to fail to provide
appropriate medical treatment, to contact emergency medical services, and/or to transport Smiley
to the hospital emergency department; administering a dose of Naloxone, which has no effect on
a methamphetamine overdose; and the systematic avoidance of required in-person cell checks.
Such conduct violates their statutory duty under N.C.G.S. § 153A-224 to ensure continuous
supervision of inmates and "to be at all times informed of the prisoners' general health and
erner~ency medico] needs," and pierces the shield of public officer immunity.

        12.     John Doe #] and John Doe #2 are sued under fictitious names because it is
believed ti~at other deputies and/or detention offtcers con#ributed through their acts or omissions
to the death of Michele Quantele Smiley. Pursuant to N.C.G.S. § 1-166, Plaintiff will seek to
amend this pleading when their true names aze discovered and add them as party defendants.

        13.   At all times relevant to this Complaint, Defendant Tina Cox Miller {"Miller") was
a citizen and resident of McDowell County and a licensed practical nurse (LPI~ who was
employed by SECMG to provide nursing services in the Buncombe County jail.

        14.     Defendant Southeast Correctional Medical Group, PLLC ("S~CMG") is a
professional limited liability company with its principal office in the State of Georgia.
According to its website, it provides healthcare services in 1l0 facilities in more than 6Q counties
in 7 states, and cares far more than ?6,004 inmates daily.




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         I~.    SECMG is sued under the doctrine of r•espandeal supe~~ior• for the negligence of
 its agent. Defendant Miller.

        16.   At all times relevant to this Complaint, SECMG had contracted with the Sheriff of
$uncombe County to provide medical care far persons detained in the Buncombe County jail
pursaant to a medical care plan submitted to and approved by Buncombe County officials as
required by N.C.G.S. § 1 ~3A-225 and l0A N.C.A.C. 144.1001.

        17.    Attached hereto and mar~Ced Plaintiffs ~xhibif 1 and incorporated by reference
15 Section 702E dF the Detention Health Plan in effect on October 6, ?O17, which provides:
"Arrestees wlio are unconscious, semi-conscious, bleeding, unstable, or urgently in need of
medical attention are referred immediately For emergency care,"

        l8.    Attached hereto and marked Plaintiffs Exhibit 2 and incorporated by reference
is Section 70$E of the Detention Health Plan in effect on October 6, 20I7, which provides:
"Emergency transportation is available for an inmate from the facility when a condiCion exists
that ekceeds the medical capabilities of the [Buncombe County Detention Facility]."

        ] 9.  Attached hereto and marked Plain#iffy exhibit 3 and incorporated by reference
is Section 706G of the Detention Health Plantn effect on October 6, Zd17, which provides: "The
responsible Health Authority shall define and approve written policy, procedures, and specific
protocols to manage [Buncombe County Detention Facility] inmates under the influence of
alcohol and drug: . . . ~onsist~nt wvith local, state and Federal laws «°hich shall ir~~ ludo; . . . 3.
Emergency, life-khreatening situation guideline[.]"

        20,     Based on SECMG's contract to provide medical care to Buncombe County
prisoners pursuant to a medical plan required by state statute and regulation, SECMG is a
"person" acting under color of Law for purposes of 42 U.S.C. § 1983. It is sued for violating the
Fourteenth Amendment rights of the decedent en failing to provide her adequate medical care
while in pretrial custody.

         Z1.     SECMG is also sued under state law for the wrongful death of Plaintiffs decedent
b}~ failing to adequately supervise decedenk's medical care and allowing 5ECMG employees and
agents to exceed the scope of their medical licenses, which proximately led to her death,

       22.     Defendant Hitler is a "person" who was acting under color of state law for
purposes of 42 U.S.C. § ]983 in providing medical services in the Buncombe County jail
pursuant to state law and regulation. Her actions and omissions violated decedent's Fourteenth
Amendment right to reasonably adequate medical care while in pre-trial custody. She is sued
individually under § 1983.

       23.     Further, the actions and omissions of Defendant Miller described herein were so
outrageous as to shock the conscience of the community and violate Smiley's right to substantive
due process.

       24.      Defendant Miller is also sued under state law for wrongful death, as she owed a
duty of care to Smiley and violated the standards of medical care applicable to licensed practical
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 nurses; including e~;ceeding the scope of her license by providing inadequate medical care
 without groper supervision b}~ a licensed physician, and her breach of that standard of care and
 duty owed pro:~imate[y caused the death ofPlaintiff's decedent.

                                             FACTS

        2~.     On October 6, 2017, at approximately 11:46 a.rn., Michele Smiley began the
process of being booked into the Buncombe County jail, after she was arrested for probation
violations that included; 1} failing to report for appr~intments with her probation officer, 2} not
being at her residence on four different occasions after 6:00 p.m., in violation of a curfew
condition, and 3) failing to report for a substance abuse assessment.

       ?6.    Smile} wa; asked by one oFthe Defendant BCSO Jai[ Guards whether she'd had
lunch. Shy took a fevv bites of a bologna sandwich, and dram: some juice. One nF the $C5C? Jail
Guards then took SmiteS~'s picture end scanned her with a metal detector.

      27.      Smiley told one of the Defendant BCS~ Jail Guards, "I swallowed something sa I
wouldn't get caught with it when my probation officer came,"

        28,    One af'the Defendant IICSO Jail Guards called for a nurse.

       Z9.    Defendant Miller came to the booking room and found Smiley sil#ing in a chair.
Defendant Millet• Found Smiley to be alert ar~d v~rba) but ~ little anxiou,~: Defendant Miller
asked Smiley what vas going on, and Smiley told her that she had `'taken something."

        30.      Smiley was attempting to eat lunch and repeated several times, "I can't do this,"
and, "I don't feel right," After taking a bite of her baloney sandwich, and a small drink of her
juice, Smiley put her lunch tray down. Smiley held the bite of sandwich in her left jaw and later
she spit it out in the toilet.

       31,     Defendant Miller asked Smiley what she had swallowed several times, and
Smiley finally said that she had swallowed `'Meth."

        32.    Defendant Miller asked Smiley haw much she has swallowed and Smiley said, "I
don't know, just a lot."

      33.     One or more of the Defendant BCSO Jail Guards were near enough to Smiley and
Defendant Miller to overhear their conversation.

       34.     One ar mare of the Defendant I~CSO Jait Guards knew at that time that Smiley
had ingested an unknown quantity of methamphetamine.

       3~.     Neither Defendant Miler nor any of the Defendant BCSO fail Guards that were
present in the booking area with 5miiey called for emergency medico! services or requested
authorization from the director• of the jail to immediately transfer Smiley to Mission Hospital
after Smiley had told them that she had swallowed "a lot" of methamphetamine.




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         36.     At that time, Smiley begin showing signs of agitation, restlessness, and
irritability, and was constantly moving and unable to sit still.

       37.    Smiley stated that she "was burning up," and she was repeatedly pulling at her
hoodie (sweatshirt) white sitting in a chair in the booking area of the jail.

        38.    Neither Defendant Miller nor any of the Defendant BCSO Jail Guards that were
present with Smiley called for emergency medical services or requested authorization from the
director of the jail to immediately transfer Smiley to Mission Hospital after Smiley: had told
them that she had swallowed "a !ot" of methamphetamine; had stated that she "was burning ap;"
and was repeatedly pulling at her hoodie while sitting in a chair in the booking area of the jail.

       39.     Smiley was taken to the bathroom and bean having extreme anxiety, increasing
unsteadiness, and was pacing in the bathroom, back and forth from the wall to the sink.

        4Q.    Smiley attempted to vomit in the bathroom, but could not.

      41,     One of the Defendant BCSO Jail Guards was in the bathroom with Smiley and
Defendant Miller, and gave Smiley a light shirk.

        42,    Smiley took off the sweatshirt that she had been wearing and put on tFte light shirt.

       43.     In the bathroom, Smiley became diaphoretic (was sweating heavily) and
repeatedly splashed cool water from the sink onto her face.

       44.     Defendant Miller attempted to help cool Smiley down by applying coal, wet
paper towels t4 her face and the back of her neck.

       45.     At that point, Smiley's hands were extremely red, with some red dark pink color
around her nails at the cuticles,

       46.    Defendant Miller encouraged Smiley to "slow down" and "take deep breaths," to
which Smiley repeatedly responded: "I can't."

        47.    Smiley also told Defendant Miller and the Defendant BCSC1 Jail Guard who was
in the bathroom with them: "I just don't feel right."

        4$.    Neither Defendant Miller nor any of the Defendant BCSO Jail Guards that were
present with Smiley called for emergency medical services or requested authorization from the
director of the jai! to immediately transfer Smiley to Mission Hospital after Smiley; had told
them that she had swallowed "a !ot" of methamphetamine; had stated that she "was burning up;"
was repeatedly pulling at her hoodie while sitting in a chair in the booking area of the jail; went
to the bathroom and began having extreme anxiety, increasing unsteadiness, and was pacing back
and forth; attempted to vomit in the bathroom; became diaphoretic (was sweating heavily);
repeatedly splashed her face with water; said "I can't" when taId to "slow down" and "take deep
breaths;" and said, "I just don't feel right."




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       49.     One of the Defendant BCS~ Jaii Guards told Smiley to come back t~~ the baokin~,
area and sit down. Smiley followed these directions and walked back to the chair and saf dodvn,

        50.      At that point, Smiley was sliding up and down in the chair and Constantly moving
and ~~~as clearly in distress.

       51.     Defendant Miller attempted to obtain Smiley's blood pressure, but could not
because Smi(ey was constantly moving and would not be still. When Defendant Miller asked
Smiley to be still, she said, "I can't."

        52.     Defendant Miller left the booking area and came back in with several aP the
Defendant BCSO 7ai1 Guards, who assisted in restraining Smiley while Miller attempted to get
her vital :signs, Several of the Defendant BCSO Jail Guards laced their own Iegs around
Smi[ey's legs to hold her down, and Defendant Miller vas able to get Smiley's pulse ~ which she
found to be steady, regular, and faint —but not her blood pressure,

       ~3.    At that point, Smiley had been in the county jai! for at least 25 minutes, from
approximately 1l .46 ~.m, until approximately 12:12 p.m,

        Sa.     Duffing that ?~-minute time period, Smiley: had told Defendant Miller and one or
more of the Defendant BCSO 1ai1 Guards that she had swallowed '`a lot" of methamphetamine;
had slated that she `'was burning up;" vas repeatedly pu(lin~ at her hoodie while sitting in a chair
in the booking, ar~.,.~ of the jail; went to the bathrc~cm and began ha~~ing extrertle anxiety.
increasing unsteadiness, and was pacing back and forth; attempted to vomit in the bathroom;
became diaphoretic (.vas s~~eating heavily); repeatedly splashed her face with water; said `'1
can't" when told to "slow down" and "take deep breaths;y' and said, `'I just don't feel right;" and
went back out into the booking area and was sliding up and down in the chair and constantly
moving and was clearly in distress.

        ~~.     By approximately 12:13 p.m., it was evident that Smiley vas undergoing a severe
reaction to a drug overdose, as distinct from someone being belligerent or combative.

       56.     Defendant Miller and the Defendant BCSO Jail Guards wha were with Smiley
understood that she was undergoing a severe reaction to a methamphetamine overdose.

       ~7.    One of the Defendant BCSO Jail Guards put his hand on Smiley's thigh and said,
"Don't worry, you're not going to die. You're just going to get really high."

       58.    Rather than calling for emergency medical services, several of the Defendant
BCSO Jail Guards then took Smiley to "Cell #l" in the jail and placed her in the cell at
approximately I2:I7 p.m.

       59.'    The jair cell where Smiley was confined was xemotely monitored by one or more
of the Defendant BCSO Jail Guards on a computer screen showing images from a video camera
that was filming and recording Smiley in her cell.




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        60.   After placing Smi(ey in the jai[ cell, the Defendant BCSO Jail Guards failed to
 place Smile} on afour-times-per-hour direcE observation watch, as required by l0A NCAC
 14J.0601(c).

        61.     As soon as Smiley was put in the jail cell, she started rolling around, fanning
herself, taking her clothes off, and thrashing about, apparently in great distress.

       62.    Smiley was left in the jail cell for approximately 15 minutes before anyone
checked on her in person.

         6a.    At that point, she was lying motionless in the cell and, it is believed, was already
in full cardiac arrest.

       64.    Smiley was then left in the jail cell for another approximately 30-45 minutes
before anyone checked orgy her in person. She was still l}~ing motionless in the cell,

        6~.    The Defendant BCSO Jail Guard who checked on her at that point had been with
her from the beginning of the booking process. He stood outside of Smiley's jail cell and stared
at her lying motionless in the cell for several minutes,

       66.     The Defendant BCS~ Jai! Guard who stood outside Smiley's jail cel! then called
two other jail guards over to ask if they thought Smiley was breathing. The three of them
observed Smiley From outside the cell for about 5 10 minute: a~ she lay there motionless.

       67,    At approximately 1:19 p.m., several of the Defendant BC50 Jail Guards finally
opened Smiley's cell door and went in. One of them started slapping Smiley in the face, saying,
"Hey, you've got to wale up?" AnoEher said, "She has no pulse!" The Defendant BCS~ Jail
Guards who went into the cell spoke in loud voices and were visibly unsetkled by the situation,
having apparently just then realired the seriousness of Smiley's medical condition.

       68.    One of the Defendant BCSO Jail Guards, or a nurse on duty, then gave Smiley a
dose of Nalaxone (Narcan), which reduces the effect of an opiod overdose, bu# has no effect on a
methamphetamine overdose.

        69.    At that time, one of the Defendant BCSO Jai! Guards began cardio pulmonary
resuscitation (CPR) and someone gave Smiley one or two doses of epinephrine. Smiley's ribs
were fractured by the chest compressions.

       7d.     At approximately l:?6 p.m,, well aver an hour after it was clear that Smiley was
undergoing a severe reaction to a methamphetamine overdose, one of the Defendant BCSO Jail
Guards finally called emergency medical services.

        71.    Buncombe County CMS person~iel arrived and took over medical treatment at
approximately 1:32 p.m., and the Advanced Life Support (ALS) team from emergency medical
services found Smiley to be pulseless.




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       72.    Smiley was intubated, given a dose of dextro:;e, and chest compressions were
continued with an automated compression device.

       73.   After several minutes, the compression device vas removed, and another pulse
check was done, revealing no pulse. Her core temperature was 104.4 degrees Fahren3~eit.

        74.     Smiley was taken to the Emergency Department of Mission Hospital and arrived
there at approximately I;S8 p.m. She was noted to be in asystole, which is the state of total
cessation of electrical activity from the heart.

        7~.     After looking at her heart with bedside ultrasound and finding no activity
~vhatsoeve~•, Smiley was pronounced dead at 2:03 p.m.

        76.   An autopsy report later performed by a medical doctor indicated that the cause of
death «~as "Methamphetamine toxicity."

                      COMPLIANCE WITH RULE 9(i) OF THE
                   NORTH CAROLINA RULESUF CIVIL PROCEDURE

        77.     The medical care and alf medical records pertaining to the alleged negligence that
are available to the Plaintiff after reasonable inquiry have been reviewed by a person who is
reasonably expected to qualify as an expert witness under Rule 702 oFtl~e Rules of E~~idence and
who is willing to testify that the medical care and p~•afessianal health services rendered to
Plaintiff by DeFendant Miller in this case did not comply with the accepted standards of care for
leer healthcare profession in the same or similar communities at the times of the negligent acts
and/or omissions complained of herein, and that the breach of that standard of care and duty
owed proximately caused the death of Plaintiffs decedent.

        78.     Plaintiff alleges that the negligent acts complained of also involve breaches of
common law and statutory duties that amount to ordinary (as opposed to medical or professional)
negligence, and, as such, do not involve the rendering or failure to render medical care or
professional health services to Plaintii~'s decedent, und, accordingly, are not subject to the
purported certification requirements of North Carolina Rule ~f Civil Procedure 9(j).

                            FIRST CAUSE OF ACTION
                      WRONGFUL DEATH: DEFENDANT DUNCAN
                       AND DEFENDANT BCSO JAIL GUARDS

        79.     All prior paragraphs of the Complaint are hereby incorporated by reference as if
fully set out herein.

       80.    N.C.G,S. § I53A-224 is a safety statute expressly enacted to protect a detainee
like Smiley whose liberty has been taJcen and who is eonFned in a local detention facility.

       81.    The Buncombe County Detention Facility is a local confinement facility for
purposes of N.C.G.S, § 153A-224.




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          S2.   The Defendant BC50 Jai] Guards' actions and omissions, including failing to
provide appropriate medical Ereatmeni, failing to contact emergency medical services, acid/or
failing to transport Smiley to the hospital emergency department after Smiley reported that she
had swallowed "a lot" of "meth" while she was being processed; failing to provide appropriate
medical treatment, failing to contact emergency medical services, and/or failing to transport
Smiley to the hospital emergency department after Smiley showed signs of a severe drug
overdose; placing Smiley in a jail cel! and leaving her there to suffer until she vomited, became
unconscious, and stopped breathing; si~nding outside of her jail cell and watching her lie
motionless and continuing to fail to provide appropriate medical treatment, to contact emergency
medical services, and/or to transport Smiley to the hospital emergency department; administering
a dose of Naloxone, which has no effect on a methamphetamine overdose; and the systernatie
avoidance of required in-person cell checks, all violated the affirmative obligation under
N.C.G.S. § 153A-224 to provide continuous custodial supervision of detainees and "be at all
ti,rnes informed of the prisoners' general health and emergency medical needs," as well as state
regulations on observing inmates and reporting medical concerns.

       83.    Their breaches oP the affirmative duty imposed by a safety statute constituted
negligence per se.

       84.    These breaches of statutory duties imposed by N.C.G.S. § 153A-224 to provide
continuous custodial supen,~ision of detainees and "be at all times informed of the prisoners'
general health and emergency medical needs." precludes the application of govemmentaE
immunity..

        85.    Sheriff Duncan is liable, under the doctrine of resspond~a! sir~erio~~, bot4~ under
common law and by statute, for the actions and omissions of the Defendant BCSO 1ai1 Guards
that led to Smiley's death, and for the failures of the Defendant $CSO Jail Guards. The Sheriffs
duty to operate the county jail in a safe manner is anon-delegable duty under N,C.G,S, § 162-24.

        86.     Further, the Defendant BCSD Jail Guards are indit~iduall~~ liable. Some oE` their
actions were taken outside the scope of their authority, including the systematic avoidance of
required in-person cell checks. Further, their actions of failing to provide appropriate medical
treatment, failing to contact emergency medical services, and/or failing to transport Smiley to the
hospital after she had reported that she had swallowed "s lot" of "meth" while she was being
processed, after she showed signs of a severe drug overdose, and after she was placed in a jail
cell and Ieft to suffer until she vomited, became unconscious, and stopped breathing, all
demonstrated malice and willful and wanton and reckless disregard for her safety. Conduct that
exceeds the scope of authority ar that shows such malice and willful or wanton or reckless
disregard for apre-trial detainee pierces the shield of public officer immunity.

        87.     As a proximate result of the Defendant BCSO Jail Guards' malicious, willful,
wanton, and reckless conduct, Smiley suffered agonizing pain and humiliating abandonment.
until she died.

      88.     Plain#iff, in her capacity as Administrator of the Estate, is entitled to recover from
Defendant Duncan and the Defendant BCSO Jail Guards, jointly and severally, all damages for
wrongful death as allowed by N.C.G.S. § 28A-282(b), including but not limited to damages for
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pain and suffering and humiliation that Smiley experienced in time before her death.

        89.    Plaintiff also seeks and is entitled under Chapter 1D and N.C.G.S. tj 28A-18-
2{b)(S) to punitive darnAges against Defendant Duncan and the Defendant BCSO Jail Guards,
jointly and severally. The actions of the Defendant BCS~ Jail Guards showed actual malice
toward Smiley and willful and wanton and reckless disregard for her safety.

                           SECOND CAUSC OF ACTION
                       WRONGFUL DE~1TI-~: DEFENDANT MILLER
                            AND DEFENDANT SECMG

        90.     All prior paragraphs of the Complaint are hereby incorporated by reference as if
Fully set out herein.

       91.     Defendant Miller did not comply with the accepted standards of care for her
healthcare profession in the same or similar communities at the times of the negligent acts and/or
omissions complained of herein.

       92.     Defendant Miller i~~ liable and ~va~ negligent in at least the fallowing respects:

       a.      Failing to provide appropriate medical treatment to Smiley and/or failing to
               contact emergency medical services after Smiley reported to Miller, during the
               booking process, that she had s~~~allc~stied "a lot" of "meth;"

       b,      Failing to proti ide appropnate medical treatment to Smiley and/or failing to
               contact emergency medical services after Smiley showed signs of experiencing a
               severe drug overdose while she was being processed; and

       c.      Otherwise failing to comply with tl~e accepted standards of care far her healthcare
               profession in the same or similar communities.

       93.     As a proximate result of Defendant Miller's negligence, Smiley suffered
agonizing pain and humiliating abandonment, until she died.

       94.    A person of ordinary intelligence and prudence could have foreseen that death
would be the probable result of the failure to provide proper medical care to a person who had
ingested an unknown dosage of methamphetamine,

       95.     SECMG is liable, under the doctrine of respondeat s:r}~erior, for the medical
negligence of its agent, Defendant Miller, in providing healthcare to Smiley.

       96.     S~CMG also failed to adhere to the medical care plan submitted to and approved
by County officials, as required by N.C.G.S. § 153A-225 and i0A N.C.A,C, 14J,1001, because
the nursing star, including Defendant Miller, was not supervised by a licensed physician,
exceeding the scope of their licensure and constituting negligent supervision.




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       97.     Plaintit~', in her capacity a:; Administrator of the Estate, is entitled to recover From
Defendants Miller and SECMG, jointly and severally, all damages for wrongful death as aflo~ved
by N.C.G.S. § 28A-282(b), including but r►ot limited to damages For pain and suffering and
humiliation that Smiley e~;perienced in time before her death.

         98.     Plaintiff also seeks and is entitled under Chapter 1D and N.C.G.S. § 28A-18-
2(b)(>) to punitive damages against Defendants Miller and SECMG, jointly and severally. The
actions of Defendant Mi11er shoved actual malice toward Smiley and willful and wanton and
reckless disregard far her safety, Defendant Miller was the managing agent for SECMG in the
jail, subjecting SECMG to punitive damages.

                           THIRD CAUSE OF ACTION
             FQiJRTEEI~TH AMENDMENT VIOLATIONS / 42 U.S.C. ~ 1983:
                  DEFENDANT DUNCAN, DEFCNDANT WIL,HELM,
                    AI D THE DEF'ENllANT BCS~ JAIL GUARDS

        99.     X111 prior paragraphs of the Complaint are hereby incoiparated by reference as if
fully set out herein.

       i 00. AI! Defendants except the Surety are "persons," attd their actions and omissions
complained of herein were ial:en under color of state la~i~ for purposes of 42 U.S.C. § 1983.

        tO1. 7"h~ ci~h4s of pry-trial detai~e~s and the conduct of nefendant Duncan. Defendant
Wilhelm, and the Dependant ~CSO Jail Guards towards Smiley are governed by tl2e due process
clause of the Fourteenth Amendment, which sets a sia~~dard of objective reasonableness.

        Id2. The practice in the jail of systematically failing to place Smiley on a four-times-
per-hour direct observation watch as required by North Carolina law [l0A NCAC 14J,0601{c)]
violated the standard of objective reasonableness.

        l03. Further, the specific acts and omissions of the Defendant BCSO Jail Guards and
Defendant Wilhelm complained of herein were objectively unreasonable and violated Smiley's
rights under the Fourteenth Amendment, including failing t4 provide appropriate medical
treatment, failing to contact emergency medical services, and/or failing to transport Smiley to the
hospital after she had reported that she had swallowed "a lot" of "meth" and after she showed
signs of a severe drug overdose.

         104. Defendant Duncan and Defendant Wilhelm also failed to train their detention
facility officers and other agents in recognizing and properly responding to a melhamphetamine
overdose, which also violates the standard of objective reasonableness. Defendants Duncan and
Wilhelm are sued in their official capacities for these Fourteenth Amendment violations, as they
stem from a systematic practice of not properly training the jail's detention officers on how to
attend to the urgent medical needs of detainees ~+'ho have overdosed on methamphetamines, as
required by law.

     105. Further, those same specific acts described herein violated the prior Fourteenth
Amendment standard of deliberate indifference. These included the acts of failing to ~ravide
                                                 12



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appropriate medical treatment, failing to contact emergency medical services. and/or fai)ing to
transport Smiley to the hospital after she had reported that she had swallowed "a lot" of "meth"
and after she sho~i•ed signs of a severe drug overdose.

       106. Further, Smiley was detained under conditions that posed a substantial risk of
serious harm, and the Defendant BCSO Jail Guards knew of and disregarded those risks to
Smiley's health and safety, including hearing, seeing, and ignoring her condition of overdosing
on metha~nphetamines, which violated Smiley's Fourteenth Amendment rig}its.

        107. Further, to the extent the Court finds that a deliberate indifference standard
applies to the conditions of pre-trial confinement. the actions and omissions complained of
herein showed reckless disregard and open contempt far Smiley's well being. satisfying the
deliberate indii~'erence standard.

       108. The Defendant BCSO Jail Guards and Defendant Wilhelm had actual and
constructive knowledge of Smiley's serious medical condition but were deliberately indifferent
to Smiley's need for critical and essential assessment and medical treatment.

       ] 09. Furll~er the Defendant BCSO Jail Guards and Defendant Wilhelm are sued
individually under 42 U.S,C, § 1983 for these Fourteenth Amendment violations.

        I l0. The actions of these same individual Defendants so violated the standards of
decency as t~~ ~ 4h~ck the cony. cienee a~f the c~~mmunit}~ and thu ; ~; iolated substantive due process
aEso protected by the Fourteenth Amendment.

      11 i. As a result of these violations by Defendant Duncan, Defendant Wilhelm, and the
Defendant BCSO Jail Guards, Smiley suffered an agonizing death under inhumane conditions
and was left to die in her jail cell.

        I12. Plaintiff seeks and is entitled to compensatory damages as allowed under 42
U.S.C. § 1483 and N.C.G.S, § 28A-18-2(b)(5) against Defendant Sheriff Duncan, Defendant
Wilhelm, and the Defendant BCSO Jail Guards, including but not limited to damages for the pain
and suffering and humiliation that Smiley experienced in the time before her death.

         113. Defendant Sheriff Duncan and Defendant Wilhelm are liable for supervisory
liability, due to the practices at the jail of not properly training its detention officers an how to
attend to the urgent medical needs of detainees who have overdosed on methamphetamines and
not proper]y monitoring pre-trial detainees uvho have overdosed on methamphetamines, as
required by law. There was a causal link behveen the wilful and wanton indifference to these
txaining and rnonitorin~ deficiencies and Smiley's death.

       l lq. Plaintiff also seeks and is entitled to punitive damages from the Defendant BCSO
Jail Guards individually, as allowed under ~2 U.S.C. § 1983, due to the Defendant BCSO Jail
Guards' reckless indi~'erence to Smiley's federally protected rights.




Case 1:18-cv-00322-MR-WCM Document 1-1 Filed 11/02/18 Page 14 of 25
                         FOURTId CAUSE OF ACTION
              FOURTEENTH AMENDMENT VIOL,ATIUrVS / 4Z U.S.C. § 1983:
                  DEFENDANT MILLER AND DEFENDANT SECMG

         115. All prior paragraphs of the Complaint a~•e hereby incorporated by reference as if
 fu]ly set out herein.

      116. Defendants Miller and SECMG are "persons," and hex actions and omissions
complained of herein were taken under color of state iaw for purposes of 42 U.S.C. § 1983.

       117. The rights of pre-trial detainees and the conduct of Defendants Miller and
S~CMG towards Smiley are governed by the due process clause of the Fourteenth Amendment,
which ~,et~ a atandard of obj~~cti~ e reasonableness.

         1 I8. The specific acts and omissions of Defendant Miller complained of herein, which
are imputed to Defendant SECMG, were objectively unreasonable and violated Smiley's rights
under the Fourteenth Amendment, including failing to provide appropriate medical treatment and
failing to contact emergency medical services after Smiley had reported that she had swallowed
"a lot" of "meth" and after she showed sign: of a severe drug o~~erdose.

        119. Further, those same specific acts described herein violated the prior Fourteenth
Amendment standard of deliberate indifference. These included Defendant Miller's acts of
failing to provide appropriate medical lrcatrnent and failing to contact emergenew ~~ltdical
services afrer Smiley had reported that she had swallowed "a lot" of "meth" and after slie showed
signs of a severe drub o~~erdose.

        120. Further, Smiley was detained under conditions that posed a substantial risk of
serious harm, and Defendant Miller S:new of and disrega►•ded those risks to Smiley's health and
safety, including hearing, seeing, and ignoring her condition of overdosing on
methamphetamines, which violated Smiley's Fourteenth Amendment rights.

        1?1. Further, to the extent the Catu~t finds that a deliberate indifference standard
applies to the conditions of pre-trial confinement, the actions and omissions of Defendant Miller
complained of herein showed reckless disregard acid open contempt for Smiley's well being,
satisfying the deliberate indifference standard.

       122. Defendant Miller had actual Ecnowledge of Smiley's serious medical condition but
was deliberately indifferent to Smiley's need for critical and essential assessment and medical
treatment.

       1?3. Defendant Miller is sued individually under 42 U.S.C. § 1983 for these
Fourteenth Amendment violations.

        124. The actions of Defendant Miller, which are imputed to Defendant SECMG, so
violated the standazds of decency as to shock the conscience of the community and thus violated
substantive due process also protected by the Fourteenth Amendment.

                                               14


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       I25. As a result of these violations by Defendants Miller and SECIvIG, Smiley suffered
an agonizing death under inhumane conditions.

        126. Plaintiff seeks and is entitled to compensatory damages as allowed under 42
U.S.C. § 1983 and N.C.G.S. § 28A-18-2(b)(5) against Defendants Miller and SECMG, including
but not limited to damages for the pain and suffering and humiliation that Smiley experienced in
the time before her death,

       127. Plaintif~'also seeks and is entitled to punitive damages as allowed under 42 U.S,C.
  1983, due to Defendant Miller's reckless indifference to Smiley's federally protected rights.

                                  FIFTH CAUSE OF ACTIOI~1
                                  ACTION UNCR THE BOND

        128. Al] prior paragraphs of the Complaint are hereby incorporated by reFerence as if
fully set out herein.

       129. The actions of Defendant Sheriff Duncan and nefendant Wilhelm, both the
systemic failure to train its detention officers and to monitor pre-trial detainees, and the discrete.
described acts of the Defendank DCSO Jail Guards constituted neglect and malfeasance in their
employment with Sheriff Duncan and were taken under the auspices of the af~ice of the Sheriff
As a proximate result, decedent suffered intense mental and physical pain and died,

       130, Further, the negligence of the SBCMG Defendants should be covered by the
Bond, as these Defendants ~~ere acting under the non-delegable authority of the Sheriff at all
times. As a proximate result, decedent suffered intense mental and physical pain and died.

      13 f . Plaintiff brings this action for wrongful death on the Sheriff's bond pursuant to
N.C.G.S, ~ 58-76-5.

       132. Plaintiff, in her capacity as Administratrix of the Estate, is entitled to recover on
the bond aI1 damages for wrongful death caused by the neglect and malfeasance of the Sheriff
and his agents, as allowed by N.C.G.S. § 28A-28-?(b). Such damages are in excess of
$2S,000.QO. She may sue repeatedly on the bond until the judgment is paid.

                                  SIXTH CALJS~ OF ACTION
                                      N.C.G.S. § 1b2-55

        133. All prior para~raplis oi' the Complaint are hereby incorporated by reference as if
fully set aut herein.

       134. 'fhe actions and omissions of the Defendant BC50 Jail Guards showed such
reckless indifference and thoughtless disregard for Smiley's safety, and caused Smiley injury,
such that Plaintiff is entitled to recover treble the compensatory damages awarded to the Estate
from them, pursuan4 to N.C.G.S. § 162-55. Under the case taw, such reckless indi~'erence is
equivalent to criminal neglect.




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                                S~VCNTH CAUSE OFACTION
                                     N.C.G.S. § 162-50

        13~, All prior paragraphs of the Complaint are hereby incorporated by reference as iF
fully set out herein.

        136. The actions and omissions of the Defendant BCSO Jail Guards, imputed to
Sheriff Duncan under the principle of respondeat superior, constituted willful failure or neglect
to perform duties imposed upon them, entitling Plaintiff to a penalty of five hundred dollars
($SOO.pO) under N.C.G.S. § 162-50, in ~dditian to all other remedies sought herein.

                                         JURY DEMAND

       137.    Plaintiff'requests that all issues be tried before a jury of her peers.

                                     PRA'YCR FOR R.ELIE~

        WHEREFORE, Plaintit~, as Administratrix of the Estate, upon the trial of this matter
before a jury. prays thst the C~r~!rt e~iter judgment for Plaintiff and order the following relief:

               Judgment against Defendant Sheriff Duncan and Defendant Wilhelm officially
               and against the Defendant BCSO Jail Guards individually For all wrongful death
               d~aees re~ove~able undeg~ 1~I.~.G.a. § 28P~-18-?(b), including punitive damages.

       2.      Judgment against Defendant Miller and Defendant SECMG, ja~ntly and se~era(ly,
               for alt wrongful death damages recoverable under N.C.G.S. § 28A-18-2(b),
               including punitive damages.

              .Fudgment agains# Defendant Sheriff Duncan officially, against Defendant
              Wilhelm officially and individually, and against the Defendant BCSO Jail Guards
              individually under 4'~ U.S.C. § 1983 for compensatory damages.

       4.     3udgment against the Defendant BCSO Jail Guards individually under 42 U.S.C.
              § l 983 for punitive damages.

       S.     Judgment against Defendant Miller and Defendant SECMG, jointly and severally,
              under 42 U.S.C. § 1983 for compensatory damages anti punitive damages.

       6.     An award of treble the compensatory damages against the Defendant BCSO Jail
              Guards and Defendants Miller and SECMG under N,C.G.S. § 162-5~.

              An Order that Defendants pay Plaintiffs costs as allowed under Narth Carolina
              law and 42 U.S.C, ~ 1988, including reasonable attorneys' fees.

      8.      That the Court grant such other and further relief as it deems equitable and just.



                                                 I ~a



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     Res P ectfull Y submitted a this the ~ daY of Octoberf 2018.



                                                                  ~~
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                                            ~i



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                                                            goo
                                                            DETENTIQN HEALTH PLAN

                                                            REC~TVING SCREENII~G

                                                            702


 A.   STANDARDS AND STATUTES:

       1. State Statutes:            G,S. 1S3A-221

      2. State Standards.            10 NCAC ~4J Section .1001; ,lOd2

      3. NCCHC Standards;            J-E-02 (Essential)

      4, BCD' Policy;               706

 B.   OBJECT`.IVE: To protect the health and well-being of fhe inmate and the community
      through the early detection and appraisal of the health status of the arriving inmate. To
      identify any potential emergcilcy situation among arrestees arriving at the BCDF, Also,
      to esiablish baseline data for the use in subsequent care and treatment of the inmate and
      to fiunish data for appropriate classif"iaation and housing.

 C.   POLICY: A Medical Receiving Screening will be performed by Detention Staff upon
      arrival of each detainee into the Booking Area, This will be done in the 3MS Computer
      System and the screening forth will be cnmpletec3 by the Booking Officer. Any
      observable illness/injury requires an iznmediatc confidential health assessment of the
      detainee by qualified health care personnel. Arrestees who are unconscious, semi-
      consoious, bleeding, unstable, or urgently in need of medical attention are referred
      immediately for emergency care. All other inrnat~s will have a Medical Receiving
      Screening Form completed by the Booking Officer prior to being classified for housing in
      the BCDF. The Medical Staff will review the MedioaI Receiving Screening Farm daily
      and complete their review and assessment within 24 hours.

      The minims areas that the Medical Receiving Screening Form will cover are:

      1, Inquiry into current illnesses and health pznblems including sexually transmitted
         disease; medications taken; special health requirements (including dietary); use of
         aleohal and other drugs including types of drugs used, mode of use, amounts and
         frequency, date and time of Iast use, and a history of problems that occurred after
         ceasing use, i,e, convulsions; +allergies; dental problems; and any other health problem
         designated by the Rf~~


                                                                                             PEAINTIFF'S
                                                                                                E~FWIBIT
                                                                                            .. ~_
                                                                                       ..

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                            2. Observation o1' behavior which includes stale of consciousness, mental status,
           __,                 appearanoe, conduct, tremors and sweating, body deformities, ease of movement, etc;
     ~`~         F             condition of skin, including trauma, marItiings, bruises, ~E510A5, jaundice, rashes and
                               infestations, needle marks oz other indications of drug use.

                             3. History of tuberculosis oz other infi'ectious or communicahIe illness, (i.e. HN/STD),
                                or symptoms suggestive of such illnesses (i,e., clu~onic cough, hemoptysis, lethargy,
                            • weakness, weight loss, loss of appetite, fevex, night sweats).

                            4, Inquiry into mental health status especiglly suicidal ideation and current medications
                               and/or agency currently providing mental health care.

                            5. Inquiry into praE;nancy for al! r~vomen.

                            6. ~Vlzen clinically indicated, immediate referral is made to the appropriate health care
                               agency in the community and noted in the uunate's medical xecard. Should the
                               inmate be placed in general population and a later referral be indicaCed,
                               documentation of the date, time, and location of referral is mach in the inmate's
                               medical record.

                           7. Upon medical ravicw, the Classification Division wi11 be notified if the inmate is
                              t;leared for General Population.

                           8. lJpon admission, the Medical Staff «ill be noted of any medications that may have
4~                            been brought in by the inmate. These medications will ba reviewed and properly
                              administered according to the medication schedule the inmate was following bcPore
                              admission,

                      D.   PROCEDURE:

                           I, YT~on arrival at Intake, prior to accepting custody of an arrestee from the arresting
                              pfficer, the Intake Officer will visually observe the atTestee far zllness or injury. .Any
                              apparent illness or injury ax positive response from the arrestee will require
                              assessment by the Intake Officer before accepting custody, Based upon the opinion
                              of the Booking Supervisor, custody can be refused until the an~esting officer obtains ..
                              mcclical treatment for the arrestee and returns with a written statement from the
                              examining physician stating that the arrestee is medically fit for confinement.

                           2. A full medical receiving screening will be performed by medical staff for all new
                              inmates dozing the initial booking procedure at the BCDF. If the inmate bas been
                              throu~la the medical screening in the last 90 days they will not be seen again.

                           3, Any arrestec identified as having pulmonary tuberculosis disease ax who is HN+
                              with open Iesi~ns or who is essaultive will be isolated from the general population
                              until transfer of the inmate can be arranged, The County Department of Health and




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         County Safely Officer will be notified of X11 inmates testing positive for tuberculosis
         so that Appropriate follow-up can be arranged.

      A. Any irunate identified as being suicidal will be placed on the Special Match Level
         appropriate for the inmate's need (Level 1 or 2), Special Watch means visual
         observation by detention staff four times per hoax on an irregular basis,

      5. Any arr~stee identified as being at risk for delirium tremors due to alcohol withdrawal
         should be monitored closety by medical staff (Medical Waich) for hallucinations,
         confusion, disorientation, tremoz~s, etc.

      6. All injuries and/or signs of trauma are documented in the inmate's chart and
         followed-up by medical staff or referred to the appropriate agency in fhe community,




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                                                          goo
                                                          DETENTION HEALTH I'~,AN

                                                          EMERGENCY SERVICES

                                                          708E


A.    STAMIARDS A.ND STATUTES:

      1. State Statutes:           G.S. l 53,1-225

     2. State Standards;           10 NCAC 14J Section .1001

     3. NCCHC Standards;           J-E-08 (Essential)

~w   OD~CTI'~: To provide fc~r adequate emergency services on a 24-tour basis for acute
     medical and psychiatric conditions.

C.   PULYCY: The RHE, in consultation with the Facility Director, will generate procedures
      to assure that emergency medical and psychiatric services are provided by the BCD
     'with efficiency and expediency on s 24-hour basis.

D.   PROC~DUR~:

     ] . Qualified health care providers will be onsitc and available at the BCllP' on a 24-hour
         basis,

     2. Emergency transportation is availAble for an inmate from the facility when a
        condition exists that exceeds the medical capabilities o~ the BCDF,

     3, Use of a community emergency medical vchicla for the transfer of the inmate to
        Mission Hospital Emergency Raom or other local hospital is available.

     4. Physician or physician extender on-call coverage is available an a 24-hour basis.

     S, Security procedures are in dace to provide fox the immediate transfer of the inmate
        when appropriate.

     6. IlCDF staff have imnneditate access to phone nu~tbers of all health cEtre personnel and
        available community resources,




                                                                                     '` Pl.~~NTlFF'S
                                             ~~                                           EXHlBtT
                                                                                             -.t ~, '



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                                                                          70Q

                                                                         DETENTION HF,ALTH PLAN

                                                                                •~ ~      s     r
                                                                         I~iI_M~~1~ ~~-'~ '--

                                                                         706G


        A.        STAI~DATtDS AID STr~~ES;

                  1. State Statufies:            G.S, I53A~~~ 1

               2. State Standazds:             ~ 10A,.NCAC ~ 4J Section .050I; .1001

               3. NCCHC Standards:              J-~r-06 (Essential)

       B.      ~S,T~CTIVJC: To ~t~vid~: written.policies andpzocedures to man~~~ inm~~:~s wh~~ mk~y
               be intaxicnted or experiencing withdrawa.2 from alcohol or other drugs.

       C.     POLICY: The zespaz~ble ~Tealth Authority shAll define and approve written policq,
              prc~cedtueg, and sper,~}~c pra~arois to mauag~ ~tC:~~~' ;nrn~tea ~n.c~er the izLtluence cif
              alcohol and drugs ,or undergoing withdrawal consistent with Ioca1, state end ~edexal laws
              which shall include;

              1.        How to reeagnize intoxication. and withdrawal;

              2.        observation procedures;

             3.         Em.ez~ency, J.i~'a~fhreatening situa~on guidelines;

             4.         Treatment pzatocals fox the most common intoxicants; and

             5.        Training needs fbr detention and medical personnel.

      D. ~   I~ETO~LII'ICAT~ON: Broadly defined, detoacification - r~fexs to the withdrawal of a
             drug to wl~.ich a person 3s physzcaEly dependent and/or fsestment of tl~e condition, float
             result from the withdrawal of the drug (the aU'stin~ee syndromo). Usually another cln~g
             is used to treAt the consequences of withdrgwal.




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                                                                                                    EXHIBIT



     Case 1:18-cv-00322-MR-WCM Document 1-1 Filed 11/02/18 Page 23 of 25
                                                                                                     File No
                                                                                                                         ---           --------
  STATE OF NORTH CAROLINA                                                                                               iacv 04471
                     Buncombe                                                                           In The General Court Of Justice
                                                    CoUllty
                                                                                                      ❑ District [Xi Superior Court Division
Name Of Plaintiff
Irene Warren Kent
Address
                                                                                                       CIVIL SUMMONS
c/o Nyler &Lopez, PA / 38 Orange Street                                             ~ gLIAS AND PLURIES SUMMONS (ASSESS FEE)
City, State, Zip
 Asheville, NC ?8801
                                     VERSUS                                                                                       G.S. 1A-1, Rules 3 and 4
Name Of De(endant(s)                                                          Dafe Original Summons Issued
Van Duncan; Western Surety Company; Charles J. Wilhelm;
Edward F. Parker; Meghan T. Riddle; Ryan P. Zabloudif; Matthew                Dates) Subsequent Summonses} Issued

C. Corn; Ethan Gibbs; John Doe #l; John Doe #2; Tina Cox Miller,
I,PN; and Southeast Correctional Medical Group, PLLC
 To Each Of The Defendants) Named Below:
Name And Address O/Defendant 1                                                Name And Address Of Defendant 2
Meghan T. Riddle
61 Mulberry Ct
Arden, NC 28704-?732


                    IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                    You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as
                    possible, and, if needed, speak with someone who reads English and can translate these papers!
                    iIMPORTANTE! ~Se ha entablado un proceso civil en su contra! Estos papeles son documentos legates.
                    ,NO TIRE estos papeles!
                    Tiene que contestar a mas tardar en 30 dias. iPuede querer consultar con un abogado to antes posible
                    acerca de su caso y, de ser necesario, hablar con alguien que lea ingles y que pueda traducir estos
                    docuine~tas!
 A Civil Action Has Been Commenced Against You!
 You are notified to appear and answer the complaint of the plaintiff as follows:
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
    served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the counfy named above.
 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Of Plaintiffs Attorney (if none, Address O/Plaintiff         Date Issued                        Time

George B. Hyler, Jr.                                                                        ~ ' 3 `(~               ~ J 3~j          ~ ❑ PM

Hyler &Lopez, PA                                                              Signature

38 Orange Street
Asheville, NC 28801                                                                   Deputy CSC     ~ Assistant CSC        ~ CJerk 01 Superior Court




                                                                              Date Of Endorsement                Time
❑ENDORSEMENT (ASSESS FEE)                                                                                                            ❑ nM     ~ PM
  This Summons was originally issued on the date indicated                    Signature
  above and returned not served. At the request of the plaintiff,
  the time within which this Summons must be served is
    G'Xt011d2d SIX/ (60~ d8y5.                                                     ~ Depury CSC      ~ Assistant CSC       ~ Clerk Of Superior Court


NOTE TO PARTIES: Many counties /rave MANDATORYARSITRATION programs rn which most cases where the amount rn controversy is $25.000 or
                 less are heard by an arbitrator before a trial. Tlie parties will be notified if this case is assigned for mandatory arbitration, and. i/
                 so, what procedure is to be followed.

                                                                          (Over)
 AOGCV-100, Rev. 4118
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                                                                     RETURN OF SERVICE
  certify that this Summons and a copy of the complaint were received and served as follows:

                                                                           DEFENDANT1
Dale Served                            Time Served                                     Name    f efenda t
                                                                 ❑AM       ~PM
    /~ ~I~ ~dl~                                 .,/6                                                          ~          J~/~~l/

[~, y delivering to the defendant named above a copy of the summons and                             mplaint.
❑ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
  person of suitable age and discretion then residing therein.
❑ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
  below.
      flame And Address O/Person With Whom Copies Leh (if corporation. give title ofperson copies left irithJ




❑ Other manner of service (specify)




❑ Defendant WAS NOT served for the following reason:




                                                                           DEFENDANT2
Date Served                            Time Served                                     Name Ol Defendant
                                                                     AM    ~ PM


❑ By delivering to the defendant named above a copy of the summons and complaint.
❑ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
  person of suitable age and discretion then residing therein.
 ❑ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
   below.
      Name And Address Of Person With Whom Copies Leh (if corporelion, give title olperson copies lelt wrth)




 ❑ Other manner of service (specify)




 ❑ Defendant WAS NOT served for the following reason:




Service Fee Paid                                                                       Si ature     D        y SheiiH Ma ing   m


Date Received                                                                            ame    /She        type or print)        l
         v _" 3
                           /~                                                              ~~/P                                ~ J~ c.li~ C'SC
Date Of Return                                                                          C unty Of Sheriff

     / U ~/ 5~-- / ~S'
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